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         USCA11 Case: 21-13069 Date Filed: 10/28/2021 Page: 1 of 2

                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

David J. Smith                                                                       For rules and forms visit
Clerk of Court                                                                       www.ca11.uscourts.gov


                                           October 28, 2021

Clerk - Middle District of Florida
U.S. District Court
401 W CENTRAL BLVD
ORLANDO, FL 32801

Appeal Number: 21-13069-JJ
Case Style: Legacy Entertainment & Arts Foundation, Inc., et al v. John Mina, et al
District Court Docket No: 6:21-cv-00698-PGB-DCI

The enclosed copy of the Clerk's Entry of Dismissal for failure to prosecute in the above-
referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4. Pursuant to 11th
Cir. R. 42-2(c) and 42-3(c), when an appellant fails to timely file or correct a brief or appendix,
the appeal shall be treated as dismissed on the first business day following the due date. This
appeal was treated as dismissed on 10/19/2021.

Eleventh Circuit Rules 42-2(e) and 42-3(e) govern motions to set aside dismissal and remedy
the default. Such motions must be filed within 14 days of the date the clerk issues the Entry of
Dismissal. Except as otherwise provided by FRAP 25(a) for inmate filings, a motion to set aside
dismissal and remedy the default is not timely unless the clerk receives the motion within the
time fixed for filing. See FRAP 25(a)(2)(A)(i).

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Tiffany Tucker, JJ
Phone #: (404)335-6193

Enclosure(s)




                                                             DIS-2CIV Letter and Entry of Dismissal
Case 6:21-cv-00698-PGB-DCI Document 53 Filed 10/28/21 Page 2 of 2 PageID 443
         USCA11 Case: 21-13069 Date Filed: 10/28/2021 Page: 2 of 2

                      IN THE UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT

                                         ______________

                                         No. 21-13069-JJ
                                         ______________

LEGACY ENTERTAINMENT & ARTS FOUNDATION, INC.,
d.b.a. Lawyers Matter Task Force,
FICTITIOUS PLAINTIFF 1,
LAWANNA GELZER,
BLACK LIVES MATTER TAMPA, LLC,
COMMUNITY EMPOWERMENT PROJECT, INC.,

                                                   Plaintiffs - Appellants,

versus

JOHN WILLIAM MINA,
in his official capacity as Sheriff of Orange County, Florida,
RONALD DION DESANTIS,
in his official capacity as Governor of the State of Florida,
ASHLEY BROOKE MOODY,
in her official capacity as Attorney General of the State of Florida,

                                            Defendants - Appellees.
                      __________________________________________

                         Appeal from the United States District Court
                              for the Middle District of Florida
                      __________________________________________

ENTRY OF DISMISSAL: Pursuant to the 11th Cir.R. 42-2(c), this appeal is hereby
DISMISSED for want of prosecution because the appellant Black Lives Matter Tampa, LLC,
Community Empowerment Project, Inc., Fictitious Plaintiff 1, Lawanna Gelzer and Legacy
Entertainment & Arts Foundation, Inc. has failed to file an appellants' brief within the time
fixed by the rules, effective October 28, 2021.

                                       DAVID J. SMITH
                            Clerk of Court of the United States Court
                               of Appeals for the Eleventh Circuit

                              by: Tiffany Tucker, JJ, Deputy Clerk

                                                           FOR THE COURT - BY DIRECTION
